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                                                                        June 2, 2022
 VIA ECF
 Hon. Ramon E. Reyes, Jr.
 United States Magistrate Judge
 Eastern District of New York
 225 Cadman Plaza East
 Courtroom 6F North
 Brooklyn, NY 11201-1804

        Re:     Klimovitsky v. JG Innovative Industries, Inc., et al.
                Case No.: 1:21-cv-755 (MKB) (RER)


 Dear Judge Reyes:

         This firm represents the Plaintiff in the above-referenced action. I write jointly with the
 consent of counsel for Defendant to respectfully request an extension of time until June 27, 2022
 for the parties to submit their Settlement Agreement covering Plaintiff’s wage and hour claims
 asserted pursuant to the Fair Labor Standards Act and New York Labor Law to the Court for
 approval pursuant to Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199 (2d Cir. 2015).

         The parties reached a settlement of the Plaintiff’s claims at the mediation session held on
 March 15, 2022. Defense counsel drafted the proposed Settlement Agreement which was provided
 to Plaintiff on April 8, 2022. Since then, there have been revisions proposed by both parties.
 Plaintiff is currently in Israel and the time difference has made it challenging to communicate with
 her regarding the proposed revisions to the Settlement Agreement and thus the undersigned
 requires this additional time to review the Settlement Agreement draft with Plaintiff. All parties
 consent to this request.

        Plaintiff thanks this honorable Court for its time and attention to this case.

 Dated: Forest Hills, New York
        June 1, 2022                                   Respectfully submitted,

                                                       SHALOM LAW, PLLC

                                                       /s/ Jonathan Shalom
                                                        Jonathan Shalom, Esq.
                                                        105-13 Metropolitan Avenue
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